                     EXHIBIT E




Case 3:23-cv-00478   Document 176-5   Filed 06/14/24   Page 1 of 3 PageID #: 1486
Ronald G. Harris

From:                             Katherine Barrett Riley < KBRiley@BarrettLawGroup.com>
Sent:                             Friday, June 7, 2024 9:17 PM
To:                               Ronald G. Harris
Subject:                          RE: Sills v. Southern Baptist Convention et al




Ron, I am sorry that I am just seeing your emait. I was out of pocket att day and just now getting back to my
computer. I see that y'att f ited your motion. What are your thoughts on extending the CMO deadtines
again? Katherine

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From: Ronald G. Harris <rharris@ nealha rwell.com>
Sent: Friday, June 7, 2024 72:26 PM
To: Katherine Ba rrett Riley <KBRiley@ Ba rrettLawGroup.com>
Subject: FW: Sills v. Southern Baptist Convention et al

We got your emai[ this morning and have tried to reach you by tetephone. We sent an emait yesterday that asked
for 2 weeks untit June 21 (see betow). Phit Etbert advised yesterday that we needed the additionat.
time because of the amount of information invotved, our ctient's work schedute and the time demands on other
cases by our attorneys (l have had a major exhibit production in a federat criminat case and Phit is in
the middte of a pretiminary injunction fight -hearing on Monday). We respectfutty request two additionat weeks
(which actuatty amounts to the same amount of time that we originatty requested)..Ptease let us know as
soon as possibte.


From: Ronald G. Harris
Sent: Thursday, June 6,20242:4!PM
To: Katherine Ba rrett Riley <KBRilev@ BarrettLawG roup.com>
Cc: Philip N. Elbert <pelbert@nealharwell.com>; Olivia R. Arboneaux <oarboneaux@nealharwell.com>; Nanci-Taylor
Maddux <NTMadd ux@ Ba rrettLawGroup.com>
Subject: RE: Sills v. Southern Baptist Convention et al

Hi Katherine, sorry that you have to deat with this on your vacation. As I overheard Phit Etbert ask you in the phone
ca[[, we need additionaltime to respond on behalf of Jennifer to the outstanding
discovery requests. We appreciate you originatty granting us an extension untit )une7.ln my prior request I had
asked for a longer extension than June 7, suspecting the time needed due to amount of information we woutd have
to go through and the togistics of doing so. During that prior conversation, you said you woutd consider additionat
time if we needed it. Atthough we have made significant progress, we stitt need some additionat
time to complete our response. I understand from tistening to your conversation with Phit, that you woutd not be
witting to give us a two-week extension but would consider a 10 day extension for our responses,
subject to checking with the other attorneys on your team. Thanks for your consideration.

Thanks..

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 Ron Harris


 From: Katherine Barrett Riley <KBRiley@ Ba rrettlawG roup.com>
 Sent: Tuesday, May 21,,2024 6:56 pM
 To: Ronald G. Harris <rharris@nea lharwell.com>
 cc: Philip N. Elbert <pelbert@nealharwell.com>; olivia R. Arboneaux <oarboneaux@nealharwell.com>;
                                                                                                   Nanci-Taylor
 Maddux <NTMaddux@ Ba rrettLawG roup.com>
 Subject: RE: Sills v. Southern Baptist Convention et al

Hi, Ron. This conf irms that I have granted an extension untit lune 7, and I am witting
                                                                                        to discuss a f urther extension
for a rotting production of documents afterthat date. Katherine


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        6arrett                 c0m

From: Ronald G. Harris <rharri (@nealharwe ll.com>
Sent: Tuesday, May 2l,ZO24 6:50 pM
To: Katherine Ba rrett Riley <KBRilev@ BarrettLawG roup.com>
cc: Philip N. Elbert <pelbert@nealharwell.com>; olivia R. Arboneaux <oarboneaux@nealharwell.com>
Subject: Sills v. Southern Baptist Convention et al

Katherine, this is to conf irm our conversation today that you are witting to give our client Jennifer
                                                                                                       Lyett an
extension, up to and inctuding JuneT to respond to the
outstanding discovery requests that the Ptaintiffs had propounded to Ms. Lyett. I asked for
                                                                                                 a longer extension of
time given the amount of materiat that we are going to
have to review. You advised that you had given other defendants an extension
                                                                                   untit June 7 and wanted to hotd that
date for now for "house-keeping purposes." This is to confirm that you
advised "off the record" that we coutd revisit that date with you if we needed more time.

Thanks for your cooperation in this matter.

Ron




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